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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                  No.    16 CR 109
 v.,                                              Judge Robert M. Dow

 RALPH GARCIA

                              AMENDED NOTICE OF MOTION

TO:      AUSA Timothy Storino
         AUSA Cornelius Vandenberg
         AUSA William Dunne
         United States’ Attorney’s Office
         219 South Dearborn Street
         Chicago, Illinois 60604

PLEASE TAKE NOTICE that on March 5, 2019 at 10:00 a.m., I shall appear before the Honorable
Judge Robert Dow, in his Courtroom, 2303, or any other Courtroom he may be occupying that
day, in the United States Courthouse, 219 S. Dearborn, Chicago, Illinois and shall present the
attached Motion the Disclosure of Impeaching Evidence.

                                                    Respectfully submitted,

                                                    s/ John C. Legutki

John C. Legutki
53 West Jackson Boulevard, Suite 920
Chicago, Illinois 60604
312 939-8747 FAX 312 939-0054

                                 CERTIFICATE OF SERVICE

I, John C. Legutki, an attorney, state that on, Wednesday, February 27, 2019, I will cause a copy
of the above Notice and attached Motion to be delivered to the above-referenced attorneys by
electronic filing.

                                                    s/John C. Legutki
